     Case 3:18-cv-00828-MHL Document 15 Filed 09/06/19 Page 1 of 2 PageID# 257




                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

                                                       )
SHERI WADE                                             )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     )    Case No. 3:18-cv-00828-MHL
                                                       )
INTERWORKS UNLIMITED, INC.                             )
                                                       )
         Defendants.                                   )
                                                       )

                       SECOND MOTION FOR DEFAULT JUDGMENT

         Plaintiff Sheri Wade (“Ms. Wade”), by counsel, hereby moves the Court for an entry of

default judgment against Defendant Interworks Unlimited Inc. (“Interworks”), pursuant to Rule

55(b) of the Federal Rules of Civil Procedure. Ms. Wade submits the following in support of

entry of default judgment against Interworks.

         1.      Interworks is a non-natural person and is not subject to the potential exceptions to

entry of a default judgment applicable to an infant or incompetent or a person in military service

or otherwise exempted under the Servicemembers Civil Relief Act (50 U.S.C. App. § 521).

         2.      Interworks has not appeared in this action despite having been duly served with

the Summons and Complaint in this matter.

         3.      Interworks failed to file a response to the Complaint within the date by which its

responsive pleading was due or at any time thereafter, and Interworks has not made an

appearance in this action.

         4.      Accordingly, the Clerk of Court made an entry of default on February 19, 2019

(ECF No. 7).
 Case 3:18-cv-00828-MHL Document 15 Filed 09/06/19 Page 2 of 2 PageID# 258




       5.     Ms. Wade previously filed her first Motion for Default Judgment and

Memorandum in Support (ECF Nos. 9-10) on March 19, 2019.

       6.     On August 12, 2019, the Court entered an Order denying Plaintiff’s Motion

without prejudice and instructing her to move for default judgment by September 6, 2019.

       6.     Ms. Wade now requests an entry of default judgment against Interworks and her

bases for seeking such relief are more particularly stated in her Memorandum in Support of

Second Motion for Default Judgment, which is incorporated herein by reference.

       WHEREFORE, Ms. Wade requests that this Court enter default judgment against

Interworks, and award her any other relief that this Court deems necessary and appropriate.

                                                    Respectfully submitted,
                                                    SHERI WADE


                                                    By: ______________________________
                                                                     /s/
                                                                   Counsel

                                                    Jonathan E. Halperin, Esq. (VSB No. 32698)
                                                    Andrew Lucchetti, Esq. (VSB No. 86631)
                                                    Isaac A. McBeth, Esq. (VSB No. 82400)
                                                    Halperin Law Center, LLC
                                                    5225 Hickory Park Drive, Suite B
                                                    Glen Allen, VA 23059
                                                    Phone: (804) 527-0100
                                                    Facsimile: (804) 597-0209
                                                    jonathan@hlc.law
                                                    andrew@hlc.law
                                                    isaac@hlc.law

                                                    and

                                                    Brody Reid, Esq. (VSB No.75343)
                                                    Reid Goodwin, PLC
                                                    4116 Fitzhugh Avenue
                                                    Richmond, Virginia 23230
                                                    Phone: (804) 415-7800
                                                    Facsimile: (804) 415-7560
                                                    breid@reidgoodwin.com
                                                    Counsel for Plaintiff


                                               2
